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UN|TED STATES D|STR|CT COURT
EASTERN D|STR|CT OF |V||CH|GAN
SOUTHERN D|V|SlON

JENNIFER LAKE, as Personal Representative
of the Estate of BENJAl\/llN PELCH, JR.,
Deceased,
Case No. 08-14669-CK
Plaintiff,
Hon. Sean Cox
_V_

HEARTLAND - BRIARWOOD Ml, LLC. d/b/a
HEARTLAND HEALTH CARE CENTER -
BR|ARWOOD, and as Successor Corporation to
HEARTLAND HEALTH CARE CENTER -
BR|ARWOOD, and/or EAST lVllCHlGAN CARE
CORPORAT|ON and/or MANOR CARE, lNC.,

Defendants.
SCOTT L. FEUER (P38185) W|LLlAl\/l D. CHAKLOS (P33180)
FEUER & KOZERSK|, PC DAV|D C. W|EGEL (P57277)
Attorney for Plaintiff Attorneys for Defendant Heartland Brianivood
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(248) 723-7828, Ext. 201 (313) 965-7925

 

SECOND AMENDED COMPLA|NT

There is no other civil action between these parties arising out of
the same transaction or occurrence as alleged in this complaint
pending in this Court, nor has any such action been previously
filed and dismissed or transferred after having been assigned to
a judge in this Court.

 

NOW CO|V|ES the Plaintiff, JENN|FER LAKE, personal representative of the Estate of
BENJAM|N PELCH, JR., and hereby complains against defendants, HEARTLAND - BR|ARWOOD
Ml, LLC d/b/a HEARTLAND HEALTH CARE CENTER - BR|ARWOOD, and as Successor
Corporation to HEARTLAND HEALTH CARE CENTER - BR|ARWOOD, and/or EAST M|CHlGAN

CARE CORPORAT|ON and/or MANOR CARE, lNC., as follows:

 

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JUR|SD|CT|ON AND VENUE

1. That plaintiff Persona| Representative Jennifer Lake is a resident of the city of
Lindenl County of Genesee, State of Michigan.

2. The defendants, HEARTLAND - BRIARWOOD Ml, LLC d/b/a HEARTLAND HEALTH
CARE CENTER - BR|ARWOOD, and as Successor Corporation to HEARTLAND HEALTH CARE
CENTER - BR|ARWOOD, and/or EAST lVllCHlGAN CARE CORPORAT|ON and/or MANOR CARE,
lNC are corporations doing business in the County of Genesee, State of Michigan.

3. This cause of action arises out ofthe care and treatment ofthe decedent, BENJAN||N
PELCH, JR., at Heartland Health Care Center - Briarwood, which resulted in his death on May 21,
2006.

4. The amount in controversy in this case exceeds $25,000.00, exclusive of costs,
interest and attorney fees.

LU_NL

5. P|aintiff hereby incorporates each and every allegation contained in paragraphs 1
through 4, above, as though fully set forth herein.

6. BENJAN||N PELCH, JR., was admitted to the Heartland Health Care Center -
Briarwood (hereinafter referred to as “HHCC”) on May 5, 2006, after a hospitalization for a CVA
and/or TlA on May 1, 2006.

7. Mr. Pelch was at an extremely high risk for falls given his history of CVA and/or TlA, a
total knee replacement, a total hip replacement as well as his Alzheimer's Disease.

8. On May 10, 2006, Mr. Pelch was left alone and unmonitored in a wheelchair in the
dining room during lunch.

9. As a result ofthe negligence ofthe defendant and its employees, Mr. Pelch fell out of
his wheelchair and struck his face and head. He was non-responsive for at least three minutes

before a nurse arrived.

 

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10. Mr. Pelch was taken to McLaren Hospital where he was diagnosed with a right
subdural hematoma as well as a nasal fracture.

11. After suffering for eleven (11) days, he died on May 21, 2006, as a result of
pneumonia and congestive heart failure while in defendant’s care.

12. Despite the fact that Mr. Pelch was at an obviously high risk for fall, the nurses and
personnel at HHCC failed to assess Mr. Pelch’s risk for fall. No assessment was done with respect
to his fall risk from a chair. No adequate minimum data set (MDS) was prepared or disseminated
prior to or after his fall. No plan to safeguard Mr. Pelch was prepared prior to his fatal fall or to
promote his recovery after the fall.

13. At all times relevant hereto, the health care and nursing staff at HHCC were
apparent, ostensible, implied and/or express agents of and/or were employed by defendant HHCC
and were acting in the course and scope of their employment and/or agency, when the acts of
malpractice and/or negligence hereinafter set forth and described were committed, thereby imposing
vicarious liability upon defendants by reason of the doctrine of respondeat superior.

14. At all times relevant hereto, defendants agreed to provide Mr. Pelch with the
necessary and proper medical care and held themselves out to the public, and in particular, to
BENJAM|N PELCH, JR., as a skilled and competent nursing facility capable of properly and skillfully
ensuring the safety of and treating individuals seeking their services, such as Mr. Pelch.

15. At all times relevant hereto, the defendants’ health care and nursing personnel owed
the plaintiff’s decedent, BENJAM|N PELCHl JR., the duty to provide him with supervision, care and
treatment in accordance with the standard of care applicable to nurses and health care workers.
The applicable standard of care owed to the plaintiff’s decedentl BENJAM|N PELCH, JR., included,
but was not limited to the following:

a. The standard of care required that a full safety assessment be done
upon admission on May 5, 2006;

 

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b. The standard of care required an assessment of the fall risk posed by
Mr. Pelch at the time of admission on May 5, 2006;

c. The standard of care required that the nursing personnel conduct a
safety assessment and prepare and disseminate an adequate
minimum data set (MDS) upon admission on May 5, 2006;

d. The standard of care required nursing personnel and/or medical
personnel to formulate a plan to care for and to delineate the
measures that would be taken for Mr. Pelch’s safety upon his
admission on May 5, 2006;

e. The standard of care required that a full safety assessment be done
upon Mr. Pelch’s readmission on May 12, 2006 after his fall;

f. The standard of care required an assessment of complications and
risks to Mr. Pelch at the time of readmission on May 12, 2006.

g. The standard of care required that the nursing personnel conduct an
assessment for risks and complications to Mr. Pelch during recovery
from his fall upon readmission on May 12, 2006,

h. The standard of care required that the nursing and medical personnel
formulate a plan to care for and to delineate the measures that would
be taken for Mr. Pelch’s safety, care and recovery upon readmission
on May 12, 2006; and

i. The standard of care required that the nursing and medical personnel
implement and administer a plan of care to document and monitor
potential for risks and complications to Mr. Pelch during his recovery
from his fall upon readmission on May 12, 2006.

j. HHCC is vicariously liable for the failure of any agent or employee to
act in accordance with the above requirements to conform with the
standard of care for the acts of its agents and employees

16, Notwithstanding these duties, the defendants breached the standard of care in the

following particulars

a, The nursing personnel and/or medical personnel breached the standard of
care When they failed to properly perform a full safety assessment at the time
of Mr. Pelch’s admission on May 5, 2006;

b. The nursing personnel and/or medical personnel breached the standard of
care by failing to perform an assessment of Mr. Pelch’s risk forfall atthetime
of admission on May 5, 2006;

 

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j.

The nursing personnel and/or medical personnel breached the standard of
care by failing to conduct a safety assessment and by failing to prepare and
disseminate an adequate minimum data set (MDS) on Mr, Pelch on
admission on May 5, 2006;

The nursing personnel and/or medical personnel breached the standard of
care by failing to formulate a plan to care for and to delineate the measures
that would be taken for Mr. Pelch’s safety upon his admission on May 5,
2006;

The nursing personnel and/or medical personnel breached the standard of
care when they failed to properly perform a full safety assessment at the time
of Mr. Pelch’s readmission on May 12, 2006, after his fall;

The nursing personnel and/or medical personnel breached the standard of
care by failing to perform an assessment of complications and risks to Mr.
Pelch at the time of readmission on May 12, 2006;

The nursing personnel and/or medical personnel breached the standard of
care by failing to conduct an assessment for risks and complications to Nlr.
Pelch during recovery from his fall upon readmission on Nlay 12, 2006;

The nursing personnel and/or medical personnel breached the standard of
care by failing to formulate a plan to care for and delineate the measures that
would be taken for Mr. Pelch’s safety upon readmission on May 12, 2006;

The nursing personnel and/or medical personnel breached the
standard of care by failure to implement and administer a plan of care
to document and monitor potential for risks and complications to Mr.
Pelch during his recovery from his fall upon readmission on May 12,
2006,

HHCC breached the standard of care since HHCC is vicariously liable.

17. ln order to achieve compliance with the standard of care, the defendants should have

performed the following:

a.

The nursing personnel/medical personnel caring for Nlr. Pelch should have
performed a full safety assessment upon admission on May 5, 2006;

The nursing personnel/medical personnel should have assessed Mr. Pelch
for his risk of falls upon admission on May 5, 2006;

The nursing personnel/medical personnel should have conducted a safety
assessment and prepared and disseminated an adequate minimum data set
(MDS) upon admission on May 5, 2006;

 

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The nursing personnel/medical personnel should have formulated a plan in
order to assess the risk of falls and to care for and delineate the measures
that would be taken to provide for Mr. Pelch’s safety upon his admission on
May 5, 2006;

The nursing personnel/medical personnel caring for Mr. Pelch should have
performed a full safety assessment upon Mr. Pelch’s readmission on May12,
2006;

The nursing personnel/medical personnel should have assessed Mr. Pelch
for risks and complications to Mr. Pelch upon Mr. Pelch’s readmission on
May 12, 2006;

The nursing personnel/medical personnel should have assessed Mr. Pelch
for risks and complications to Mr. Pelch during his recovery from his fall upon
readmission on May 12, 2006;

The nursing personnel/medical personnel should have formulated a plan to
care for and to delineate the measures that would be taken for Mr. Pelch’s
safety, care and recovery upon readmission on May 12, 2006;

The nursing personnel/medical personnel should have implemented and
administered a plan of care to document and monitor potential for risks and
complications to Mr. Pelch during his recovery from his fall upon readmission
on May 12, 2006;

HHCC should have ensured that its agents and employees conformed to the
standard of care noted above and is vicariously liable for its agents’ or
employees’ failure to act in accordance with the standard of care.

18. These breaches of the standard of care proximately caused Mr. Pelch’s injury and

ultimate death as follows:

a.

Had a full safety assessment been performed on Mr. Pelch upon admission
on May 5, 2006, a plan of care could have been implemented that would
have ensured his safety and prevented his fall, and his resultant damages
and death;

Had the nursing personnel/medical personnel identified Mr. Pelch as a risk
for falls on May 5, 2006, Mr. Pelch would have been monitored, in which
case he would not have suffered the fall and his resultant damages and
death;

Had the nursing personnel/medical personnel assessed Mr. Pelch for risk of
falls and prepared and disseminated an adequate minimum data set (MDS)
on May 5, 2006, it would have been noted that Mr. Pelch should have been
monitored, and, if he was monitored, he would not have fallen and he would
not have suffered the damages and death noted;

 

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d. Had the nursing personnel/medical personnel formulated a plan to assess
the risks of falls and formulated a safety assessment for Mr. Pelch and to
care for and delineate the measures that would be taken to provide for lVlr.
Pelch’s safety, he Would not have fallen and sustained damages and death;

e. Had a full safety assessment been performed on Mr. Pelch upon
readmission on May 12, 2006 after his fall, a plan of care could have been
implemented that would have ensured his safety, care and recovery and
prevented his resultant damages and death;

f, Had the nursing personnel/medical personnel performed an assessment of
complications and risks to Mr. Pelch at the time of readmission on May 12,
2006, he would have been monitored, supervised and cared for in which
case he would not have suffered his resultant damages and death;

g, Had the nursing personnel/medical personnel assessed Mr. Pelch for risks
and complications to Mr. Pelch during recovery from his fall on l\/lay12,2006,
it would have been noted that Mr. Pelch should have been monitored, and, if
he was monitored, he would not have suffered the damages and death
noted;

h. Had the nursing personnel/medical personnel formulated a plan to care for
and to delineate the measures that would be taken for Mr. Pelch’s safety,
care and recovery upon readmission on May 12, 2006, he would not have
sustained damages and death;

i. had the nursing personnel/medical personnel implemented and
administered a plan of care to document and monitor potential for
risks and complications to Mr. Pelch during his recovery from his fall
upon readmission on May 12, 2006, he would not have suffered the
damages and death as noted;

j. Had HHCC ensured that its agents and employees conformed to the
standard of care noted above, Mr. Pelch would not have fallen and suffered
the injuries and resultant death.

19, As a direct and proximate result of the aforementioned acts of negligence and/or
malpractice, plaintiff’s decedent, BENJAl\/llN PELCH, JR., died on May 21, 2006,

20. The decedent’s estate is entitled to recover those damages available under the
lVlichigan Wrongful Death statute, lVlCL 600.2922, which includel but are not limited to the following:

a. Reasonable compensation for the pain and suffering endured by BENJAl\/llN

PELCH, JR., during the period of time between his fall on lVlay10, 2006, and
his ultimate death on May 21, 2006;

 

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b, Necessary and reasonable medical expenses;

c. Necessary and reasonable funeral and burial expenses; and

d. The loss to the decedent’s survivors of his love, companionship, counsel and
society.

WHEREFORE, plaintiff, Jennifer Lake, as Personal Representative of the Estate of
Benjamin Pelch, Jr., claims judgment against the defendants HEARTLAND - BR|ARWOOD Ml,
LLC d/b/a HEARTLAND HEALTH CARE CENTER - BR|ARWOOD, and as Successor Corporation
to HEARTLAND HEALTH CARE CENTER - BR|ARWOOD, and/or EAST MlCHlGAN CARE
CORPORAT|ON and/or MANOR CARE, lNC, for whatever amount plaintiff is found to be entitled, as
determined by the trier of fact, together with interest, costs and attorney fees

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Date: November 10, 2009

 

